   Nos. 24-3137 (lead case), 24-3388, 24-3415, 24-3442, 24-3469

   In the United States Court of Appeals
           for the Eighth Circuit
                  —————————————————————
    CUSTOM COMMUNICATIONS, INC., D/B/A CUSTOM ALARM, ET AL.
                                     Petitioners,
                                v.
                     FEDERAL TRADE COMMISSION,
                                     Respondent.
                  —————————————————————

             On Petitions for Review of an Order of the
            Federal Trade Commission (RIN 3084-AB60)

          JOINT PROPOSED BRIEFING SCHEDULE


ANISHA S. DASGUPTA                Helgi C. Walker
  General Counsel                   Counsel of Record
                                  Lucas C. Townsend
BRADLEY DAX GROSSMAN
                                  Michael P. Corcoran
MATTHEW M. HOFFMAN
                                  Lael D. Weinberger
BENJAMIN F. AIKEN
                                  GIBSON, DUNN & CRUTCHER LLP
  Attorneys
                                  1700 M Street N.W.
FEDERAL TRADE COMMISSION          Washington, D.C. 20036
600 Pennsylvania Avenue, N.W.     (202) 955-8500
Washington, D.C. 20580            hwalker@gibsondunn.com
bgrossman@ftc.gov
202-326-2994                      Counsel for Petitioners

Counsel for Respondent
     Petitioners and Respondent respectfully submit this Joint Proposed

Briefing Schedule in response to the Court’s letter filed on December 6,

2024, directing the parties to meet and confer and to submit a joint

proposed briefing schedule. Having met and conferred, Petitioners and

Respondent jointly propose the following schedule for their respective

briefs to be due:

        • Petitioners’ Opening Brief (with a separate appendix, per
          Eighth Circuit Rule 30A(b)) – due February 14, 2025.

        • Respondent’s Brief (with a separate appendix, per Eighth
          Circuit Rule 30A(b)) – due April 15, 2025.

        • Petitioners’ Reply Brief – due May 15, 2025.

     All Petitioners intend to file a single, joint opening brief and a

single, joint reply brief.   All parties agree that these deadlines will

minimize any need for extensions and allow for orderly briefing of these

petitions for review.    Petitioners and Respondent thus respectfully

request that the Court accept this proposed briefing schedule and order

that Petitioners’ and Respondents’ respective briefs be due on the

deadlines set forth above.




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Dated: January 3, 2024                Respectfully submitted,

/s/ Bradley Grossman*                  /s/ Helgi C. Walker
BRADLEY DAX GROSSMAN                  Helgi C. Walker
MATTHEW M. HOFFMAN                      Counsel of Record
BENJAMIN F. AIKEN                     Lucas C. Townsend
   Attorneys                          Michael Corcoran
FEDERAL TRADE COMMISSION              Lael D. Weinberger
600 Pennsylvania Avenue, N.W.         GIBSON, DUNN & CRUTCHER LLP
Washington, D.C. 20580                1700 M Street, N.W.
bgrossman@ftc.gov                     Washington, D.C. 20036
202-326-2994                          (202) 955-8500
                                      hwalker@gibsondunn.com
Counsel for Respondent
                                      Counsel for Petitioners
*Signature used with permission




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                   CERTIFICATE OF SERVICE

     I hereby certify that on January 3, 2024, an electronic copy of the

foregoing Joint Proposed Briefing Schedule was filed with the Clerk of

Court for the United States Court of Appeals for the Eighth Circuit using

the appellate CM/ECF system, and service will be accomplished on all

registered counsel by the appellate CM/ECF system.

                                        /s/ Helgi C. Walker
                                       Helgi C. Walker
                                       GIBSON, DUNN & CRUTCHER LLP
                                       1700 M Street, N.W.
                                       Washington, D.C. 20036
                                       (202) 955-8500
                                       hwalker@gibsondunn.com

                                       Counsel for Petitioners
                     CERTIFICATE OF COMPLIANCE

     I certify that this Joint Proposed Briefing Schedule complies with

the type-volume limitation of Federal Rule of Appellate Procedure

27(d)(2)(A) because, excluding the parts exempted under Federal Rule of

Appellate Procedure 27(d)(a)(2)(B), it contains 161 words.

     I certify that this Joint Proposed Briefing Schedule complies with

the typeface requirements of Federal Rule of Appellate Procedure

32(a)(5) and the type-style requirements of Federal Rule of Appellate Pro-

cedure 32(a)(6) because this submission has been prepared in a propor-

tionally spaced typeface using Microsoft Word 2019 in 14-point New Cen-

tury Schoolbook LT.

     I further certify that this document has been scanned for viruses

and is virus-free.

Dated: January 3, 2024                  /s/ Helgi C. Walker
                                       Helgi C. Walker
                                       GIBSON, DUNN & CRUTCHER LLP
                                       1700 M Street, N.W.
                                       Washington, D.C. 20036
                                       (202) 955-8500
                                       hwalker@gibsondunn.com
                                       Counsel for Petitioners
